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                   UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

Anthony Daunt, et al.,
                                     Case No: 1:19-cv-00614 (Lead)
             Plaintiffs,
                                     Honorable Janet T. Neff
v.                                   Magistrate Judge Ellen S. Carmody

Jocelyn Benson, in her official
capacity as Secretary of State,      STIPULATED ORDER FOR THE
                                     SUBSTITUTION OF COUNSEL
             Defendant,

Count MI Vote d/b/a Voters Not
Politicians),

            Intervening-Defendant.
_____________________________        Case No. 1:19-cv-00669
Michigan Republican Party, Laura
Cox, Terri Lynn Land, Savina         Honorable Janet T. Neff
Alexandra Zoe Mucci, Dorian          Magistrate Judge Ellen S. Carmody
Thompson, Hank Vaupel,

             Plaintiffs,
v.
Jocelyn Benson, in her official
capacity as Secretary of State,

             Defendant,

v.

Count MI Vote, d/b/a Voters Not
Politicians,

             Intervenor-Defendant.

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             STIPULATED ORDER FOR THE SUBSTITUTION
                          OF COUNSEL

      Upon the stipulation of counsel as evidenced below, and the Court being

otherwise fully advised of the premises:

      IT IS HEREBY ORDERED that Charles R. Spies (P83260) and Robert L.

Avers (P75396) of Dickinson Wright PLLC are substituted in the place of Brian D.

Shekell (P75327) of Clark Hill PLC as attorneys of record for Plaintiffs Michigan

Republican Party, Laura Cox, Terri Lynn Land, Savina Alexandra Zoe Mucci,

Dorian Thompson, and Hank Vaupel.

      IT IS SO ORDERED.

Dated: ___________________
         September 26, 2019                      __________________________
                                                     /s/ Janet T. Neff
                                                 U.S. District Court Judge

So stipulated and agreed.

Date: September 25, 2019

By: /s/ Brian D. Shekell (w/permission)        By: /s/ Robert L. Avers
Brian D. Shekell (P75327)                      Robert L. Avers (P75396)
Clark Hill PLC                                 Dickinson Wright PLLC
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                                               /s/ Charles R. Spies
                                               Charles R. Spies (P83260)
                                               Dickinson Wright PLLC
                                               1825 Eye Street NW
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